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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Greenbelt Division


    THE DISTRICT OF COLUMBIA and
    THE STATE OF MARYLAND,



           v.
                                                         Civil Action No. 8:17-cv-01596-PJM
    DONALD J. TRUMP, President of the United
    States of America, in his official and in his
    individual capacity,




       RENEWED NOTICE OF VOLUNTARY DISMISSAL OF DONALD J. TRUMP,
      IN HIS INDIVIDUAL CAPACITY, PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs the

District of Columbia and the State of Maryland voluntarily dismiss without prejudice the above-

captioned action against Donald J. Trump in his individual capacity.1 This notice of dismissal is

being filed with the Court before service of either an answer or a motion for summary judgment

by Defendant Donald J. Trump in his individual capacity. This notice shall not pertain to the

claims brought against Defendant Donald J. Trump in his official capacity.




1
 Plaintiffs continue to maintain that their notice of voluntarily dismissal filed on December 18,
2018 (Dkt. 154) was effective upon filing, a question that the U.S. Court of Appeals for the Fourth
Circuit sitting en banc did not reach. Nevertheless, the Plaintiffs are renewing their Rule
41(a)(1)(A)(i) notice out of an abundance of caution and in view of the denial of individual
capacity Defendant Donald J. Trump’s motion to stay the mandate and the issuance of same.
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Dated: July 17, 2020                        Respectfully submitted,

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